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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ORACLE AMERICA, INC.,                                   No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                    ORDER VACATING
                                                                         13                                                           AUGUST 18 HEARING
                                                                              GOOGLE INC.,
                                                                         14                 Defendant.
                                                                         15                                             /

                                                                         16          No submission having been received advising that a junior lawyer will argue the
                                                                         17   motion for leave to supplement invalidity contentions, that motion is hereby deemed submitted
                                                                         18   (Dkt. No. 56 at ¶ 13). The hearing noticed for August 18, 2011 is VACATED.
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                                                                         20          IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: August 8, 2011.
                                                                         23                                                     WILLIAM ALSUP
                                                                                                                                UNITED STATES DISTRICT JUDGE
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